                                    Case 6:10-bk-04761-RAC                          Doc 42           Filed 03/16/16              Page 1 of 12




1A
 /2009
 /2011
 101-7-TFR
 3ems Inc.
                                                           UNITED STATES BANKRUPTCY COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                   ORLANDO DIVISION


                   In re:                                                                          §
                                                                                                   §
                   ADENIYI ADEREMI OKUNLOLA                                                        §           Case No. 6:10-04761-KSJ
                   ANGELA FRANCESCA OKUNLOLA                                                       §
                                                                                                   §
                                                                 Debtors                           §

                                                                TRUSTEE’S FINAL REPORT (TFR)

                              The undersigned trustee hereby makes this Final Report and states as follows:

                          1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                    03/24/2010 . The undersigned trustee was appointed on 07/23/2014 .

                              2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                           3. All scheduled and known assets of the estate have been reduced to cash, released to
                   the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                   pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                   disposition of all property of the estate is attached as Exhibit A.

                              4. The trustee realized gross receipts of                                             $             300,000.00

                                                     Funds were disbursed in the following amounts:

                                                     Payments made under an interim                                                          0.00
                                                     disbursement
                                                     Administrative expenses                                                      122,787.05
                                                     Bank service fees                                                                855.92
                                                     Other payments to creditors                                                        0.00
                                                     Non-estate funds paid to 3rd Parties                                               0.00
                                                     Exemptions paid to the debtor                                                      0.00
                                                     Other payments to the debtor                                                       0.00
                                                                                               1
                                                     Leaving a balance on hand of                                   $             176,357.03

             ____________________
                        1
                           The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
             will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
             maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
             UST Form 101-7-TFR (5/1/2011) (Page: 1)
                       Case 6:10-bk-04761-RAC                           Doc 42          Filed 03/16/16               Page 2 of 12




       The remaining funds are available for distribution.

             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 10/31/2014 and the
      deadline for filing governmental claims was 09/20/2010 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 11,618.94 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 11,618.94 , for a total compensation of $ 11,618.94 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 62.32 , for total expenses of $ 62.32 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 03/16/2016                                     By:/s/Leigh R. Meininger
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011) (Page: 2)
                                                                                                                                                                                                       Page:       1
                                                     Case 6:10-bk-04761-RAC                      Doc 42         Filed 03/16/16             Page 3 of 12
                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                        Exhibit A
Case No:              10-04761                         KSJ            Judge:        Karen S. Jennemann                           Trustee Name:                      Leigh R. Meininger
Case Name:            ADENIYI ADEREMI OKUNLOLA                                                                                   Date Filed (f) or Converted (c):   03/24/2010 (f)
                      ANGELA FRANCESCA OKUNLOLA                                                                                  341(a) Meeting Date:               05/06/2010
For Period Ending:    03/16/2016                                                                                                 Claims Bar Date:                   10/31/2014


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. 4949 Donovan Street, Orlando, FL                                                    186,000.00                       0.00                                                       0.00                        FA
  2. Cash on Hand (u)                                                                         40.00                       0.00                                                       0.00                        FA
  3. Checking & Savings                                                                      150.00                       0.00                                                       0.00                        FA
  4. Older Household Goods & Furniture                                                     1,500.00                       0.00                                                       0.00                        FA
  5. Clothing (u)                                                                            100.00                       0.00                                                       0.00                        FA
  6. Jewelry                                                                                  55.00                       0.00                                                       0.00                        FA
  7. 401k from Employer                                                                   16,000.00                       0.00                                                       0.00                        FA
  8. 2004 Honda Accord                                                                     8,500.00                       0.00                                                       0.00                        FA
  9. 1996 Lexus LS                                                                         1,500.00                       0.00                                                       0.00                        FA
 10. Personal Injury Lawsuit (u)                                                               0.00                       0.00                                                300,000.00                         FA
INT. Post-Petition Interest Deposits (u)                                                  Unknown                         N/A                                                        0.00                        FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $213,845.00                     $0.00                                                $300,000.00                       $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




      UST Form 101-7-TFR (5/1/2011) (Page: 3)
                                                                                                                                                  Page:   2
                                                   Case 6:10-bk-04761-RAC                   Doc 42        Filed 03/16/16           Page 4 of 12
07/21/14: Case to be reopened for a personal injury lawsuit. D. Fuller Haring of Bogin, Munns & Munns, P.A. to be appointed as special counsel.

07/29/14: Application to Employ D. Fuller Haring as Special Counsel is filed (Document Number 29).
                                                                                                                                                  Exhibit A
08/06/14: Order Approving Application to Employ D. Fuller Haring as Special Counsel is entered (Document Number 33). 386-763-2092

11/05/14: Claims review complete.

11/04/15: Motion for and Notice of Proposed Compromise of Controversy is filed (Document Number 37).

12/11/15: Order Granting Motion to Approve Compromise or Settlement is entered (Document Number 39).




Initial Projected Date of Final Report (TFR): 02/15/2015          Current Projected Date of Final Report (TFR): 12/23/2015




    UST Form 101-7-TFR (5/1/2011) (Page: 4)
                                                                                                                                                                                                  Page:           1
                                                      Case 6:10-bk-04761-RAC             Doc  422 Filed 03/16/16 Page
                                                                                           FORM                                                   5 of 12
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-04761                                                                                             Trustee Name: Leigh R. Meininger                                          Exhibit B
      Case Name: ADENIYI ADEREMI OKUNLOLA                                                                                   Bank Name: Bank of Kansas City
                   ANGELA FRANCESCA OKUNLOLA                                                                       Account Number/CD#: XXXXXX6562
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0421                                                                               Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 03/16/2016                                                                              Separate Bond (if applicable):


       1                2                                3                                            4                                                     5                  6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   09/29/15             10         Geico General Insurance Co.               Settlement Agreement                                  1142-000               $300,000.00                              $300,000.00

   10/30/15                        Bank of Kansas City                       Bank Service Fee under 11                             2600-000                                        $425.03         $299,574.97
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   11/30/15                        Bank of Kansas City                       Bank Service Fee under 11                             2600-000                                        $430.89         $299,144.08
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   12/15/15           1001         D. Fuller Haring, Esquire                 Special Counsel Fees Reversal                         3210-000                                 ($120,000.00)          $419,144.08
                                   Bogin, Munns & Munns, P.A.
                                   2601 Technology Drive                     To Change Payee Name to
                                   Orlando, Florida 32804                    Law Firm Only
   12/15/15           1002         D. Fuller Haring, Esquire                 Special Counsel Expenses                              3220-000                                    ($3,180.49)         $422,324.57
                                   Bogin, Munns & Munns, P.A.                Reversal
                                   2601 Technology Drive                     To Change Payee Name to
                                   Orlando, Florida 32804                    Law Firm Only
   12/15/15           1001         D. Fuller Haring, Esquire                 Special Counsel Fees                                  3210-000                                   $120,000.00          $302,324.57
                                   Bogin, Munns & Munns, P.A.                Pursuant to Order Granting
                                   2601 Technology Drive                     Motion for and Notice of
                                   Orlando, Florida 32804                    Proposed Compromise of
                                                                             Controversy (Document
                                                                             Number 39)
   12/15/15           1002         D. Fuller Haring, Esquire                 Special Counsel Expenses                              3220-000                                     $3,180.49          $299,144.08
                                   Bogin, Munns & Munns, P.A.                Pursuant to Order Granting
                                   2601 Technology Drive                     Motion for and Notice of
                                   Orlando, Florida 32804                    Proposed Compromise of
                                                                             Controversy (Document
                                                                             Number 39)
   12/15/15           1003         Bogin,Munns & Munns, P.A.                 Special Counsel Fees                                  3210-000                                   $120,000.00          $179,144.08
                                   2601 Technology Drive                     Pursuant to Order Granting
                                   Orlando, Florida 32804                    Trustee's Motion for and Notice
                                                                             of Proposed Compromise of
                                                                             Controversy (Document
                                                                             Number 39).




        UST Form 101-7-TFR (5/1/2011) (Page: 5)                                     Page Subtotals:                                                       $300,000.00         $120,855.92
                                                                                                                                                                                                     Page:           2
                                                      Case 6:10-bk-04761-RAC             Doc  422 Filed 03/16/16 Page
                                                                                           FORM                                                    6 of 12
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-04761                                                                                                Trustee Name: Leigh R. Meininger                                          Exhibit B
      Case Name: ADENIYI ADEREMI OKUNLOLA                                                                                     Bank Name: Bank of Kansas City
                   ANGELA FRANCESCA OKUNLOLA                                                                         Account Number/CD#: XXXXXX6562
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0421                                                                               Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 03/16/2016                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                     5                   6                       7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                          Code                                                             ($)
   12/15/15           1004         Bogin, Muns & Munns, P.A.                 Pursaunt to Court Order                                 3220-000                                    $3,180.49            $175,963.59
                                   2601 Technology Drive                     Pursuant to Order Granting
                                   Orlando, Florida 32804                    Trustee's Motion for and Notice
                                                                             of Proposed Compromise of
                                                                             Controversy (Document
                                                                             Number 39).
   03/15/16                        Bogin Munns & Munns, PA                   Reimbursement of Legal                                  3220-000                                       ($393.44)         $176,357.03
                                                                             Expenses


                                                                                                              COLUMN TOTALS                               $300,000.00          $123,642.97
                                                                                                                     Less: Bank Transfers/CD's                   $0.00                 $0.00
                                                                                                               Subtotal                                   $300,000.00          $123,642.97
                                                                                                                     Less: Payments to Debtors                   $0.00                 $0.00
                                                                                                               Net                                        $300,000.00          $123,642.97




        UST Form 101-7-TFR (5/1/2011) (Page: 6)                                     Page Subtotals:                                                              $0.00           $2,787.05
                                                                                                                                                                 Page:     3
                                          Case 6:10-bk-04761-RAC               Doc 42   Filed 03/16/16   Page 7 of 12

                                                                                                                                                                  Exhibit B
                                                                                            TOTAL OF ALL ACCOUNTS
                                                                                                                                             NET              ACCOUNT
                                                                                                          NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                              XXXXXX6562 - Checking                                           $300,000.00            $123,642.97             $176,357.03
                                                                                                              $300,000.00            $123,642.97             $176,357.03

                                                                                                         (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                 transfers)            to debtors)
                                              Total Allocation Receipts:                         $0.00
                                              Total Net Deposits:                          $300,000.00
                                              Total Gross Receipts:                        $300,000.00




UST Form 101-7-TFR (5/1/2011) (Page: 7)                               Page Subtotals:                                           $0.00                $0.00
                              Case 6:10-bk-04761-RAC                     Doc 42     Filed 03/16/16   Page 8 of 12
                                                                          Exhibit C
                                                                ANALYSIS OF CLAIMS REGISTER
Case Number: 6:10-04761-KSJ                                                                                                        Date: March 16, 2016
Debtor Name: ADENIYI ADEREMI OKUNLOLA
Claims Bar Date: 10/31/2014


Code #     Creditor Name And Address           Claim Class       Notes                                Scheduled             Claimed            Allowed
           Leigh R. Meininger                  Administrative                                             $0.00           $11,618.94         $11,618.94
100        Post Office Box 1946
2100       Orlando, FL 32802-1946




           Leigh R. Meininger                  Administrative                                             $0.00               $62.32            $62.32
100        Post Office Box 1946
2200       Orlando, FL 32802-1946




           Clerk of the Court                  Administrative                                             $0.00              $260.00           $260.00
100        United States Bankruptcy Court
2700       400 West Washington Street, Suite
           5100
           Orlando, Florida 32801

           Esquire D. Fuller Haring            Administrative                                             $0.00          $120,000.00        $120,000.00
100         Bogin, Munns & Munns, P.A.
3210       2601 Technology Drive
           Orlando, Florida 32804


           Esquire D. Fuller Haring            Administrative                                             $0.00            $3,180.49          $2,787.05
100         Bogin, Munns & Munns, P.A.
3220       2601 Technology Drive
           Orlando, Florida 32804


1          Atlas Acquisitions LLC              Unsecured                                                  $0.00            $5,552.94          $5,552.94
300        294 Union St.
7100       Hackensack, NJ 07601




2          Fairwinds Credit Union              Unsecured                                                  $0.00            $8,933.23          $8,933.23
300        3087 N Alafaya Tr
7100       Orlando, Fl 32826




3          Discover Bank                       Unsecured                                                  $0.00            $5,863.52          $5,863.52
300        Db Servicing Corporation
7100       Po Box 3025
           New Albany, Oh 43054-3025


4          Maryland Automobile Insuranc        Unsecured                                                  $0.00            $7,967.73          $7,967.73
300        Po Box 2071
7100       Annapolis, Md 21404-2071




                                                                           Page 1                                 Printed: March 16, 2016




         UST Form 101-7-TFR (5/1/2011) (Page: 8)
                             Case 6:10-bk-04761-RAC                      Doc 42         Filed 03/16/16   Page 9 of 12
                                                                         Exhibit C
                                                               ANALYSIS OF CLAIMS REGISTER
Case Number: 6:10-04761-KSJ                                                                                                            Date: March 16, 2016
Debtor Name: ADENIYI ADEREMI OKUNLOLA
Claims Bar Date: 10/31/2014


Code #     Creditor Name And Address          Claim Class        Notes                                    Scheduled             Claimed            Allowed
5          American Express Centurion Bank    Unsecured                                                       $0.00            $2,715.46          $2,715.46
300        C/O Becket And Lee Llp
7100       Pob 3001
           Malvern Pa 19355-0701


           Case Totals                                                                                        $0.00          $166,154.63        $165,761.19
              Code#: Trustee’s Claim Number, Priority Code, Claim Type (UTC)




                                                                               Page 2                                 Printed: March 16, 2016




         UST Form 101-7-TFR (5/1/2011) (Page: 9)
                   Case 6:10-bk-04761-RAC            Doc 42      Filed 03/16/16     Page 10 of 12




                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 6:10-04761-KSJ
     Case Name: ADENIYI ADEREMI OKUNLOLA
                 ANGELA FRANCESCA OKUNLOLA
     Trustee Name: Leigh R. Meininger
                         Balance on hand                                              $             176,357.03

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant              Total Requested      to Date          Payment
      Trustee Fees: Leigh R. Meininger                $        11,618.94 $                0.00 $      11,618.94
      Trustee Expenses: Leigh R. Meininger            $               62.32 $             0.00 $             62.32
      Attorney for Trustee Fees: Esquire D. Fuller
      Haring                                       $         120,000.00 $        120,000.00 $                 0.00
      Attorney for Trustee Expenses: Esquire D.
      Fuller Haring                                   $         2,787.05 $         2,787.05 $                 0.00
      Charges: Clerk of the Court                     $           260.00 $                0.00 $          260.00
                 Total to be paid for chapter 7 administrative expenses               $               11,941.26
                 Remaining Balance                                                    $             164,415.77


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE




UST Form 101-7-TFR (5/1/2011) (Page: 10)
                   Case 6:10-bk-04761-RAC            Doc 42      Filed 03/16/16     Page 11 of 12




              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                             NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 31,032.88 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
     1                    Atlas Acquisitions LLC     $         5,552.94 $              0.00 $          5,552.94
     2                    Fairwinds Credit Union     $         8,933.23 $              0.00 $          8,933.23
     3                    Discover Bank              $         5,863.52 $              0.00 $          5,863.52
                          Maryland Automobile
     4                    Insuranc                   $         7,967.73 $              0.00 $          7,967.73
                          American Express
     5                    Centurion Bank             $         2,715.46 $              0.00 $          2,715.46
                 Total to be paid to timely general unsecured creditors               $               31,032.88
                 Remaining Balance                                                    $             133,382.89




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:




UST Form 101-7-TFR (5/1/2011) (Page: 11)
                   Case 6:10-bk-04761-RAC           Doc 42      Filed 03/16/16      Page 12 of 12




                                                           NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                           NONE


              To the extent funds remain after payment in full to all allowed claims, interest will be paid at the
     legal rate of 0.4 % pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest are $ 761.67 . The
     amounts proposed for payment to each claimant, listed above, shall be increased to include the applicable
     interest.


            The amount of surplus returned to the debtor after payment of all claims and interest is
     $ 132,621.22 .




UST Form 101-7-TFR (5/1/2011) (Page: 12)
